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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                           CASE NO. 18-60839-CIV-ALTONAGA/Seltzer

  CERTAIN UNDERWRITERS AT
  LLOYD'S, LONDON, SYNDICATES
  2623/623,

          Plaintiff,

  v.

  SOLUTIONS RECOVERY CENTER, LLC,
  DANIEL J. CALLAHAN, SEAN
  CALLAHAN, and RICHARD GLASER,

          Defendants.

       PLAINTIFF, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON'S MOTION TO
                      DISMISS DEFENDANTS' COUNTERCLAIM

          Plaintiff, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON, SYNDICATES

  2623/623 (hereinafter, "Underwriters"), by and through undersigned counsel, files this Motion to

  Dismiss the Counterclaim filed by Defendants, SOLUTIONS RECOVERY CENTER, LLC

  ("Solutions"), DANIEL J. CALLAHAN, SEAN CALLAHAN, and RICHARD GLASER

  (collectively the "Solutions Parties"), and in support thereof states as follows:

                                           BACKGROUND

          1.      On or about December 31, 2017, Kipu Systems LLC, a Florida limited liability

  company, filed a lawsuit in the United States District Court for the Southern District of Florida

  (hereinafter, the "Underlying Action") against certain defendants, including the Solutions Parties.

          2.      The Plaintiff in the Underlying Action, Kipu Systems LLC (hereinafter, "Kipu")

  alleges that the underlying defendants misappropriated trade secrets and intellectual property
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  owned by Kipu, and subsequently manufactured and sold an infringing, copycat product that

  implements the misappropriated intellectual property and infringes upon trademarked names and

  trade secrets.

          3.       Underwriters insure Solutions Recovery Center, LLC under a Miscellaneous

  Medical Professional Liability, General Liability and Advertising Liability Claims Made and

  Reported Insurance Policy, Policy No. W15F3F170401, with a Policy Period of June 17, 2017 to

  June 17, 2018 (the "Policy").

          4.       Solutions Parties seek insurance coverage, and specifically a defense, for the above

  referenced Underlying Action for misappropriation of intellectual property asserted by Kipu.

  However, the Policy does not provide coverage for the Underlying Action.

          5.       Therefore, Underwriters instituted the present action seeking declaratory relief as

  to its responsibility under the Policy. Specifically, Underwriters seek a declaration that the Policy

  does not provide insurance coverage, neither a defense nor indemnity, to the Solutions Parties for

  the Underlying Action.

          6.       In that regard, Underwriters filed a complaint for declaratory relief on or about

  April 16, 2018 [D.E. 1] and filed an amended complaint on or about April 18, 2018 [D.E. 5].

          7.       Solutions Parties filed their Answer and Counterclaim on May 21, 2018 [D.E. 20].

          8.       Underwriters now move to dismiss the Solutions Parties' counterclaim.

                                     MEMORANDUM OF LAW

          Rule 8(a) of the Federal Rules of Civil Procedure requires "a short and plain statement of

  the claims" that "will give the defendant fair notice of what the plaintiff's claim is and the ground

  upon which it rests." Fed. R. Civ. P. 8(a). The Supreme Court has held that "[w]hile a complaint

  attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, a



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  plaintiff's obligation to provide the 'grounds' of his 'entitlement to relief' requires more than labels

  and conclusions, and a formulaic recitation of the elements of a cause of action will not do. Factual

  allegations must be enough to raise a right to relief above the speculative level." Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 555 (2007) (internal citations omitted).

          "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face." Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009) (quotations and citations omitted). "A claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged." Id. Thus, "only a complaint that states a plausible

  claim for relief survives a motion to dismiss." Id. at 679. A court does not have to accept legal

  conclusions in the complaint as true. See id. When considering a motion to dismiss, the Court must

  accept all of the plaintiff's allegations as true in determining whether a plaintiff has stated a claim

  for which relief could be granted. Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

          A motion to dismiss a counterclaim under Fed. R. Civ. P. 12(b)(6) is evaluated in the same

  manner as a motion to dismiss a complaint. Sotelo v. Interior Glass Design, LLC, 2017 WL

  7796316 at 4 (S.D. Fla. 2017); Buccellati Holding Italia SPA v. Laura Buccellati, LLC, 2014 WL

  11880964 at 9 (S.D. Fla. 2014). The Federal Rules of Civil Procedure require a complainant to

  sufficiently allege facts that, when taken as true, support the reasonable inference that the

  defendant is liable for the misconduct alleged. Iqbal, 556 U.S. at 678-79. The complainant cannot

  rely on "an unadorned, the-defendant-harmed-me accusation," "labels and conclusions," or "a

  formulaic recitation of the elements of a cause of action." Id. at 678. The court is not required to

  accept as true "conclusory allegations, unwarranted factual deductions or legal conclusions

  masquerading as facts." Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003).



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  Naked assertions devoid of "further factual enhancement" also will not suffice. Twombly, 550 U.S.

  at 555. Rather, the claimant must assert the factual allegations sufficient to "raise a right to relief

  above the speculative level." Id. at 554.

         A. Solutions Parties' Counterclaim must be dismissed under Fed. R. Civ. P. 12(b)(6)
         for failure to state a claim upon which relief can be granted.

         As an initial matter, the Solutions Parties merely assert that certain allegations in the

  Underlying Action were made against them. However, they fail to allege that those allegations are

  covered under the Underwriters' Policy and fail to allege the basis for coverage. Accordingly,

  Underwriters have not been given fair notice of what the Solutions Parties' claim is and the ground

  upon which it rests. Fed. R. Civ. P. 8(a). Instead, the Solutions Parties merely provide unsupported

  labels and conclusions, and fail to provide grounds for their entitlement to relief enough to raise a

  right to relief above the speculative level. Twombly, 550 U.S. at 555. As such, a claim for relief is

  not plausible and must be dismissed. Iqbal, 556 U.S. at 678.

         First, the Solutions Parties point to Count I of the Underlying Action. In that regard, the

  Solutions Parties allege as follows:

                 Count I is Violations of Florida’s Computer Abuse and Data
                 Recovery Act (“CADRA”), pursuant to Fla. Stat. §668.801-805,
                 against all Defendants (including the Solutions Parties). Kipu
                 alleges that between October 10, 2013 and January 16, 2014, and
                 between September 10, 2015 and October 2015, Dan Callahan, Sean
                 Callahan, and Richard Glaser (among others) logged into the Kipu
                 Electronic Medical Records (“EMR”) system to review and
                 misappropriate Kipu’s trade secrets, confidential information, and
                 intellectual property…

         Solutions Counterclaim, ¶ 15(a). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count I is asserted against, the

  Solutions Parties still fail to allege how these allegations create coverage. The reason Solutions




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  Parties cannot allege that these allegations create coverage is because the Policy creates no such

  coverage. Although Underwriters assert that there is no coverage, the Solutions Parties claim that

  there is coverage under the Policy for Advertising Liability, because the Underlying Action clearly

  does not allege Bodily Injury arising from Professional Liability, Property Damage, or Personal

  Liability. In fact, the Solutions Parties admit in their Answer as follows: "Defendants admit that

  Solutions relies on allegations in the Underlying Action Complaint that constitute Advertising

  Liability against Solutions." Solutions Ans. ¶62. Solutions Parties fail to allege that Advertising

  Liability arises from Count I of the Underlying Action and provide no support for a contention that

  Underwriters have a duty to defend the Underlying Action.

         Regarding Count II of the Underlying Action, the Solutions Parties state as follows:

                 Count II is Breach of Contract against Solutions Recovery Center,
                 LLC for allegedly breaching the 2013 License Agreement it entered
                 into with Kipu by allegedly failing to pay eight $1,000 monthly
                 payments…

         Solutions Counterclaim, ¶ 15(b). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count II is asserted against,

  none of these allegations for Breach of Contract constitute Advertising Liability, and Solutions

  Parties fail to allege that they constitute Advertising Liability, that they are covered under the

  Policy, or any basis for such coverage.

         Regarding Count III of the Underlying Action, the Solutions Parties state as follows:

                 Count III is for Breach of Contract against all Defendants (including
                 the Solutions Parties) for allegedly breaching the January 2014 Kipu
                 Terms of Service by allegedly: engaging in activities that were “not
                 for a legitimate business purpose”; failing to use the Kipu EMR
                 system for site level administration of an addiction treatment
                 facility; reverse engineering the Kipu EMR System; copying
                 workflows and other Kipu intellectual property; and accessing the
                 Kipu EMR System to develop a competing, infringing product…



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         Solutions Counterclaim, ¶ 15(c). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count III is asserted against,

  none of these allegations for Breach of Contract constitute Advertising Liability, and Solutions

  Parties fail to allege that they constitute Advertising Liability, that they are covered under the

  Policy, or any basis for such coverage.

         Regarding Count IV of the Underlying Action, the Solutions Parties state as follows:

                 Count IV is Misappropriation of Trade Secrets – 18 U.S.C. §1836
                 against all Defendants (including the Solutions Parties). Kipu
                 alleges that Defendants misappropriated Kipu’s trade secrets,
                 including the OTO program, the OTO algorithm, Kipu EMR System
                 work flows, and Kipu EMR System architecture…

         Solutions Counterclaim, ¶ 15(d). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count IV is asserted against,

  none of these allegations for Misappropriation of Trade Secrets constitute Advertising Liability,

  and Solutions Parties fail to allege that they constitute Advertising Liability, that they are covered

  under the Underwriters Policy, or any basis for such coverage.

         Regarding Count V of the Underlying Action, the Solutions Parties state as follows:

                 Count V is for Civil Conspiracy to Commit Trade Secret Theft
                 against Richard Glaser, Sean Callahan, Dan Callahan, Seamus
                 Callahan, Keith Houlihan, Yanko Karkalichev, and Anton
                 Aladzhov. Kipu alleges that these individuals conspired to commit
                 trade secret theft, and that between October 2013 and January 2014,
                 they engaged in 150 unauthorized logins to the Kipu EMR System
                 to allegedly misappropriate Kipu’s trade secrets, including the OTO
                 program, the OTO algorithm, Kipu EMR System work flows, and
                 Kipu EMR System architecture. Kipu alleges that in or about
                 September 10, 2015, Sean Callahan and other defendants made 20
                 unauthorized logins during a two-week period. Kipu alleges that
                 these actions were in furtherance of a conspiracy to steal Kipu’s
                 trade secrets and develop a competing product…




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         Solutions Counterclaim, ¶ 15(e). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count V is asserted against,

  none of these allegations for Civil Conspiracy to Commit Trade Secret Theft constitute Advertising

  Liability, and Solutions Parties fail to allege that they constitute Advertising Liability, that they

  are covered under the Policy, or any basis for such coverage. Furthermore, the Policy only

  potentially covers Richard Glaser, Sean Callahan, and Daniel Callahan as officers of Solutions and

  to the extent of their duties as such. Policy, ¶ II(c). These allegations of Civil Conspiracy to

  Commit Trade Secret Theft were not within the duties of Richard Glaser, Sean Callahan, and

  Daniel Callahan as officers of Solutions, and Solutions Parties fail to allege that these allegations

  were within the duties of Richard Glaser, Sean Callahan, and Daniel Callahan as officers of

  Solutions.

         Regarding Count VI of the Underlying Action, the Solutions Parties state as follows:

                 Count VI is for Conversion of Confidential and Proprietary
                 Information against all Defendants (including the Solutions Parties).
                 Kipu alleges that on multiple occasions, Defendants stole and
                 converted Kipu’s intellectual property, including without limitation
                 the Kipu EMR System and its underlying components. Kipu alleges
                 that it has suffered the deprivation of its property…

         Solutions Counterclaim, ¶ 15(f). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count VI is asserted against,

  none of these allegations for Conversion of Confidential and Proprietary Information constitute

  Advertising Liability, and Solutions Parties fail to allege that they constitute Advertising Liability,

  that they are covered under the Policy, or any basis for such coverage.

         Regarding Count VII of the Underlying Action, the Solutions Parties state as follows:

                 Count VII is for Common Law Trespass to Chattels against all
                 Defendants (including the Solutions Parties). Kipu alleges that from



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                 2013 to the present, Defendants trespassed upon Kipu’s system for
                 the purpose of misappropriating intellectual property…

         Solutions Counterclaim, ¶ 15(g). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count VII is asserted against,

  none of these allegations for Common Law Trespass to Chattels constitute Advertising Liability,

  and Solutions Parties fail to allege that they constitute Advertising Liability, that they are covered

  under the Policy, or any basis for such coverage.

         Regarding Count VIII of the Underlying Action, the Solutions Parties state as follows:

                 Count VIII is Trademark Counterfeiting under 15 U.S.C. §1114 and
                 1116 against all Defendants (including the Solutions Parties). Kipu
                 asserts that Defendants’ use of the term “OTO option” was
                 unauthorized and constitutes the use of a spurious mark that is
                 identical to the OTO Mark, which was federally registered by Kipu
                 on January 24, 2017. Kipu alleges that ZenCharts and Defendants
                 “which own or control ZenCharts are advertising and promoting
                 ZenCharts’ competing EMR software, which uses and shows the
                 OTO Mark.” Kipu alleges that Defendants’ acts constitute
                 trademark counterfeiting in violation of Sections 32(1) and
                 34(d)(1)(B) of the Lanham Act, 15 U.S.C. § 1114(1) and
                 1116(d)(1)(B)….

         Solutions Counterclaim, ¶ 15(h). The Solutions Parties contend that this Count was alleged

  against all defendants, including the Solutions Parties. However, the Underlying Action and

  Solutions Parties' counterclaim as reproduced above actually state, "ZenCharts and the Defendants

  which own or control ZenCharts are advertising and promoting ZenCharts' competing EMR

  software, which uses and shows the OTO Mark." Underlying Comp. ¶ 191; Solutions

  Counterclaim, ¶ 15(h). Solutions does not own or control ZenCharts, and to the extent that Daniel

  Callahan, Sean Callahan and Richard Glaser own and/or control ZenCharts, they do not do so

  within the scope of their employment within Solutions, as required under the Underwriters Policy.

  In fact, the Solutions Parties admit in their Answer as follows: "Defendants admit that Solutions



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  does not own or control ZenCharts." Solutions Ans. ¶ 67. In any event, even assuming for

  argument's sake that this count was alleged against the Solutions Parties, which it was not, the

  Solutions Parties still fail to allege any basis for coverage under this count.

         Regarding Count IX of the Underlying Action, the Solutions Parties state as follows:

                 Count IX is for Infringement of United States Trademark
                 Registration under 15 U.S.C. §1114 against all Defendants
                 (including the Solutions Parties). Kipu alleges that: it filed the OTO
                 trademark application on May 20, 2016; on or about September 13,
                 2016, the USPTO issued an examiner’s amendment stating she
                 found no conflicting marks; on October 19, 2016, notice of
                 publication was issued; and on January 24, 2017, the USPTO issued
                 a Trademark Registration to Kipu for the OTO Mark. Kipu alleges
                 that Defendants’ “later adopted and wrongful use of the OTO Mark
                 in conjunction with offering a competing line of EMR software . . .
                 to target the same group of customers is likely to cause confusion,
                 mistake or deception as to source, sponsorship, affiliation or
                 authorization by Kipu or alternatively, to destroy the origin-
                 identifying function of Kipu’s registered trademark.” Kipu alleges
                 that it has suffered and will continue to suffer damage to its business,
                 reputation, and goodwill….

         Solutions Counterclaim, ¶ 15(i). Even assuming that Solutions Parties' reading of the

  Underlying Complaint is correct as to which underlying defendants Count IX is asserted against,

  none of these allegations for Infringement of United States Trademark Registration under 15

  U.S.C. §1114 constitute Advertising Liability. To the extent that any of the allegations in this count

  may be construed as Advertising Liability, same were not made against Solutions or its officers

  acting within their scope of employment with Solutions, because the entity that allegedly infringed

  on the Kipu trademark was ZenCharts, which is not an insured, arising out of the ZenCharts system

  and its use of the OTO Mark. In any event, Solutions Parties fail to allege that any of the allegations

  contained in this count constitute Advertising Liability, that they are covered under the Policy, or

  any basis for such coverage.




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          Regarding Count X of the Underlying Action, the Solutions Parties state as follows:

                  Count X is for Federal Unfair Competition – Passing Off, under 15
                  U.S.C. § 1125 against all Defendants (including the Solutions
                  Parties). Kipu alleges that Defendants have, without authorization,
                  used “Kipu’s trade name OTO, as well as associated indicia within
                  the interfaces of its Kipu EMR System.” Kipu alleges that
                  Defendants have “used the name ‘OTO’ and/or ‘OTO Option’ (the
                  ‘Infringing Name’) in their competing ZenCharts system – as well
                  as in their related marketing and promotion of their competing EMR
                  software.” Kipu alleges that Defendants’ use of, “advertising,” and
                  “marketing” the “Infringing Name” confuses, misleads, and
                  deceives the consumer into believing Zencharts is associated with
                  Kipu and/or the Kipu EMR System. Kipu alleges that Defendants
                  have used, “in relation to commercial activities,” a false designation
                  of origin, or a false or misleading description that is likely to cause
                  confusion, mistake, and deception as to the affiliation, connection,
                  or association of Defendants with Kipu…

          Solutions Counterclaim, ¶ 15(j). Even assuming that Solutions Parties' reading of the

   Underlying Complaint is correct as to which underlying defendants Count X is asserted against,

   none of these allegations for Federal Unfair Competition – Passing Off, under 15 U.S.C. § 1125

   constitute Advertising Liability. To the extent that any of the allegations in this count may be

   construed as Advertising Liability, same were not made against Solutions or its officers acting

   within their scope of employment with Solutions, because same were made against ZenCharts,

   which is not an insured, arising out of the ZenCharts system and its use of the OTO Mark. See

   Underlying Comp. ¶ 212 ("The Defendants have knowingly and intentionally used the name 'OTO'

   and/or 'OTO Option' (the 'Infringing Name') in their competing ZenCharts System – as well as in

   related marketing and promotion of their competing EMR software"). In any event, Solutions

   Parties fail to allege that any of the allegations contained in this count constitute Advertising

   Liability, that they are covered under the Policy, or any basis for such coverage.




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          Regarding Count XI of the Underlying Action, the Solutions Parties state as follows:

                  Count XI is for Florida Common Law Unfair Competition against
                  all Defendants (including the Solutions Parties). Kipu alleges that
                  “Defendants’ actions regarding the advertising, marketing, offer for
                  sale and sale of EMR software in the drug and alcohol addiction
                  treatment industry constitutes unfair competition and an
                  infringement of Kipu’s common law rights in the trade name OTO.”

          Solutions Counterclaim, ¶ 15(k). To the extent that any of the allegations in this count may

   be construed as Advertising Liability, they were not made against Solutions or its officers acting

   within their scope of employment with Solutions, because same were made against ZenCharts,

   which is not an insured, arising out of the ZenCharts system and its use of the OTO Mark. In any

   event, Solutions Parties fail to allege that any of the allegations contained in this count constitute

   Advertising Liability, that they are covered under the Policy, or any basis for such coverage.

          Regarding Count XII of the Underlying Action, the Solutions Parties state as follows:

                  Count XII alleges violation of Florida Deceptive and Unfair
                  Practices Act under Fla. Stat. § 501.204 against all Defendants
                  (including the Solutions Parties). Kipu alleges that Defendants
                  accessed without authorization the Kipu EMR System to
                  misappropriate Kipu’s trade secrets. Kipu alleges that Defendants’
                  acts “have been injurious to the public” and were “unfair and
                  deceptive."

          Solutions Counterclaim, ¶ 15(l). Even assuming that Solutions Parties' reading of the

   Underlying Complaint is correct as to which underlying defendants Count XII is asserted against,

   none of these allegations for Florida Deceptive and Unfair Practices Act under Fla. Stat. § 501.204

   constitute Advertising Liability, and Solutions Parties fail to allege that they constitute Advertising

   Liability, that they are covered under the Policy, or any basis for such coverage.

          Regarding Count XIII of the Underlying Action, the Solutions Parties state as follows:

                  Count XIII is for Tortious Interference with Business Relationships
                  against Sean Callahan, Dan Callahan, Richard Glaser, and



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                  ZenCharts. Kipu alleges that they interfered with Kipu’s
                  relationships with its users by using and misappropriating Kipu’s
                  technology and trade secrets, “pitching” the ZenCharts EMR
                  System to Kipu’s “customers at a low price,” employing Kipu’s
                  OTO Mark in the ZenCharts System, and soliciting Kipu’s users…

          Solutions Counterclaim, ¶ 15(l). The allegations against Sean Callahan, Daniel Callahan,

   and Richard Glaser in Count XIII were not made against them with regard to their duties as officers

   of Solutions. They were made against them with regard to their duties and business dealings within

   ZenCharts. Regardless, none of these allegations for Tortious Interference with Business

   Relationships constitute Advertising Liability, and Solutions Parties fail to allege that they

   constitute Advertising Liability, that the claim was made against Sean Callahan, Daniel Callahan,

   and Richard Glaser within the scope of their employment with Solutions, that they are covered

   under the Policy, or any basis for such coverage.

          Furthermore, notwithstanding that the allegations in the Underlying Action relied upon by

   Solutions Parties in their contention for coverage were not made against Solutions, any allegations

   that the Solutions Parties attempt to construe as Advertising Liability against Solutions are

   excluded from coverage by the following exclusions and limiting Policy provisions: (1) Exclusion

   IV.2.(n) of the Policy, which excludes coverage for "any Claim relating to Advertising Liability

   arising out of:…infringement of patent, trademark, service mark, and trade name...; (2) Exclusion

   IV.3.(a) of the Policy, which excludes coverage for "any Claim made by or against or in connection

   with any business enterprise (including the ownership, maintenance or care of any property in

   connection therewith), not named in the Declarations, which is owned by any Insured…;" (3)

   Exclusion IV.3.(d) of the Policy, which excludes coverage for "any claim or circumstance that

   might lead to a claim known to any insured prior to the inception of this Policy and not disclosed

   to the Underwriters at inception;" (4) Exclusion IV.3.(u) of the Policy, which excludes coverage



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   for any "Claim based upon or arising out of any Insured gaining any profit, remuneration or

   advantage to which such Insured was not legally entitled;" (5) Exclusion IV.3.(y) of the Policy,

   which excludes coverage for Claims "based upon or arising out of any actual or alleged violation

   of any federal, state, or local anti-trust, restraint of trade, unfair competition, or price fixing law,

   unfair or deceptive trade practices, or consumer protection any rules or regulations promulgated

   thereunder;" (6) the Retroactive Date of the Policy; and (7) the Retroactive Limitations Clause of

   the Policy. The Solutions Parties fail to allege that the above mentioned exclusions and limiting

   provisions do not apply, and fail to provide any factual basis for such a contention.

          In sum, Solutions Parties provide no allegations or factual basis to support their contention

   that the Policy provides coverage for the Solutions Parties for the Underlying Action. Therefore,

   the counterclaim must be dismissed.

          B. Count I: Declaratory Judgment must be dismissed under Fed. R. Civ. P. 12(b)(6)
          for failure to state a claim upon which relief can be granted.

          In Count I: Declaratory Judgment of the counterclaim, the Solutions Parties seek a

   declaration that Underwriters owe the Solutions Parties a duty to defend the Underlying Action.

   In that regard, the Solutions Parties reproduce the general portions of the Policy that state that

   Underwriters will provide a defense for Solutions for Claims covered by the Policy. Counterclaim,

   ¶ 22-23. However, they fail to point to any portion of the Policy that specifically creates such

   coverage for the allegations in the Underlying Action. Miami Yacht Charters, LLC v. Nat'l Union

   Fire Ins. Co., 2012 WL 1416428 at 2-3 (S.D. Fla. 2012) citing Tobon v. American Sec. Ins. Co.,

   2007 WL 1796250 at 2 (S.D. Fla 2007) (dismissing declaratory relief claim that "does not identify

   any provision of the insurance contract in doubt and in need of construction"). The Solutions




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   Parties also fail to mention any allegation in the Underlying Action that triggers coverage under

   the Policy.

           The Solutions Parties deny the allegations in the Underlying Action, Counterclaim, ¶ 24,

   which is irrelevant to a determination of coverage. An insurer's duty to defend depends solely on

   the allegations in the complaint filed against the insured. Mid-Continent Cas. Co. v. Adams Homes

   of Northwest Florida Inc., 2018 WL 834896 at 2 (11th Cir. 2018). The insurer must defend when

   the complaint alleges facts that fairly and potentially bring the suit within coverage. Id. The

   insurer's duty to defend is determined solely from the allegations in the complaint against insured,

   not by true facts of cause of action against insured, insured's version of facts, or insured's defenses.

   Addison Ins. Co. v. 4000 Island Boulevard Condo. Ass'n, Inc., 263 F. Supp. 3d 1266 (S.D. Fla.

   2016), aff'd, 2017 WL 6616690 (11th Cir. 2017). Therefore, Solutions Parties' denial of the

   allegations in the Underlying Action is of no consequence to a determination of coverage where

   the Underlying Action complaint does not make any allegations that bring the claim into coverage

   under the Policy.

           The Solutions Parties rely on certain case law which only helps Underwriters' position.

   Counterclaim, ¶ 26. To summarize, the Solutions Parties cite to cases that stand for the

   propositions that the duty to defend arises when the Underlying Action contains allegations that

   could be covered; that if the Underlying Action alleges facts partially within and partially outside

   of coverage, Underwriters must defend; and that courts look to the allegations in the complaint to

   determine potential coverage. Counterclaim, ¶ 26. However, the Solutions Parties fail to allege or

   provide any factual support for any of the allegations in the Underlying Action potentially falling

   under coverage. They do not point to any allegations in the Underlying Action, to any Policy

   provision that may cover such allegations, or to any of the exclusions relied upon by Underwriters



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   as inapplicable. On the contrary, none of the allegations in the Underlying Action implicate

   coverage under the Policy and/or are excluded under Policy exclusions and/or limiting Policy

   provisions, and therefore Underwriters do not owe a duty to defend.

          The Solutions Parties claim that "The Kipu Complaint alleges a covered claim for Personal

   Injury as defined in the Policy against the Solutions Parties." Counterclaim, ¶ 27. However, the

   Solutions Parties fail to allege any allegation in the Underlying Complaint or any factual basis at

   all for this contention. They do not even mention which provision of the Policy's definition of

   Personal Liability is implicated. The Policy defines Personal Injury as (1) Bodily Injury; (2) false

   arrest, false imprisonment, wrongful eviction, detention or malicious prosecution; (3) libel,

   slander, defamation of character or invasion of right of privacy, unless arising out of any

   advertising activities; or (4) wrongful eviction from, wrongful entry into, or invasion of the right

   of private occupancy of a room, dwelling or premises that a person occupies, committed by or on

   behalf of its owner, landlord or lessor. Policy, Pg. 16/25. Inarguably, none of the allegations in the

   Underlying Action implicate Personal Injury coverage, which is the reason Solutions Parties could

   not point to any allegation or factual basis that may implicate this portion of the Policy.

          Similarly, the Solutions Parties claim that "The Kipu Complaint alleges a covered claim

   for Advertising Liability as defined in the Policy against the Solutions Parties." Counterclaim, ¶

   28. Again, Solutions Parties fail to so much as mention any allegation or factual basis for this

   contention. They also do not point to the Policy language that they contend creates coverage. As

   discussed above and in the Underwriters' amended complaint, to the extent that any allegation in

   the Underlying Action may potentially be construed as Advertising Liability against Solutions,

   same is excluded by Policy exclusions and/or Policy limiting provisions.




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          Moreover, the counterclaim alleges that "The Policy does not exclude the covered claims

   made against the Solutions Parties." Counterclaim, ¶ 29. However, the Solutions Parties fail to

   discuss any "covered claim" in the Underlying Action, the applicability or supposed inapplicability

   of the exclusions relied upon by Underwriters, or any factual basis for their contention of coverage.

   This is so because the Policy clearly excludes such claims that the Solutions Parties contend are

   covered.

          With regard to the Retroactive Date, the Solutions Parties contend that "The Kipu

   Complaint alleges acts by the Solutions Parties after the applicable Retroactive Date."

   Counterclaim, ¶ 30. However, they fail to allege which acts they contend occurred after the

   applicable Retroactive Date or how such acts bring the claim under the Policy's coverage. Any acts

   that occurred after the retroactive date are not covered under any insuring agreement of the Policy

   and/or are excluded under the Policy, as discussed above. Furthermore, the Policy defines

   "Accident" as "an event or happening, including continuous or repeated exposure to substantially

   the same general harmful conditions, which involves one or more persons or entities, and which

   results in Personal Injury, Property Damage or Advertising Liability to such persons or entities."

   Therefore, that the alleged acts began and/or occurred before the retroactive date means that the

   later conduct are the same "Accident" as a continuation of substantially the same general harmful

   conditions, and are therefore barred under the retroactive date. Solutions Parties fail to provide any

   support for any act not being barred by the retroactive date and the retroactive limitations provision

   of the Policy.

          In addition, the Solutions Parties claim that "Solutions Parties timely requested a defense

   to the Kipu Complaint, which was rejected by Underwriters." Counterclaim, ¶ 31. However,

   timeliness in requesting a defense is irrelevant to the determination of coverage. As described



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   above, coverage and duty to defend are determined by the allegations in the complaint against the

   insured. Mid-Continent, 2018 WL 834896 at 2.

          Finally, Solutions Parties assert that Underwriters owe a duty to defend because the "Kipu

   Complaint asserts covered claims that are not subject to any exclusions in the Policy."

   Counterclaim, ¶ 32. However, as discussed above, Solutions Parties do not identify any "covered

   claims" nor do they provide any support whatsoever that the exclusions relied upon by

   Underwriters do not apply.

          In sum, the Solutions Parties fail to provide any allegations or factual support for their

   demand for a declaration that the Policy provides a duty to defend, and therefore, Count I must be

   dismissed for failure to state a claim.

          C. Count I: Declaratory Judgment must be dismissed as duplicative of Count II:
          Breach of Contract

          A court must dismiss a claim for declaratory judgment if it is duplicative of a claim for

   breach of contract and, in effect, seeks adjudication on the merits of the breach of contract claim.

   Ministerio Evangelistico Int'l v. United Specialty Insurance Company, 2017 WL 1363344 at 1

   (S.D. Fla. 2017) citing Miami Yacht Charters, 2012 WL 1416428; Fernando Grinberg Trust

   Success Int'l Props, LLC v. Scottsdale Ins. Co. 2010 WL 2510662 (S.D. Fla. 2010) (dismissing

   count for declaratory judgment because it involved the same factual dispute as the breach of

   contract claim). The court in Ministerio Evangelistico held:

                  Citing no less than eight supporting cases from the Southern District
                  of Florida, United first argues that the declaratory relief claim
                  should be dismissed because it is duplicative and will be resolved
                  by the breach of contract claim. This Court agrees. If the
                  determination of Ministerio's breach of contract claim involves the
                  same factual dispute as the declaratory relief claim, then Ministerio
                  "will be able to secure full, adequate and complete relief through the
                  breach of contract claim" and consequently "the declaratory relief



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                  action must be dismissed." See Fernando Grinberg, 2010 U.S. Dist.
                  LEXIS 69229, at *4, 2010 WL 2510662.

          Ministerio Evangelistico 2017 WL 1363344 at 2. See also Berkower v. USAA Cas. Ins.,

   2016 WL 4574919 (S.D. Fla. 2016) (dismissing similar declaratory relief claim as duplicative of

   breach of contract claim). In the present case, the Solutions Parties' claim for declaratory judgment

   seeks adjudication on the same merits as the breach of contract claim, arising out of the same

   factual dispute and circumstances regarding Underwriters' coverage of the Underlying Action.

   Therefore, the Solutions Parties' claim for declaratory judgment must be dismissed as duplicative.

          D. Count II: Breach of Contract must be dismissed under Fed. R. Civ. P. 12(b)(6) for
          failure to state a claim upon which relief can be granted.

          Similar to Count I, Count II: Breach of Contract of Solutions Parties' counterclaim is

   entirely devoid of any factual support whatsoever and must be dismissed.

          Solutions Parties again assert that it timely tendered the Underlying Action to

   Underwriters, which is of no consequence to a determination of duty to defend. Counterclaim, ¶

   34. Also, Solutions Parties claim that "Underwriters had a contractual duty to defend the Solutions

   Parties in connection with the Kipu Underlying Action." Counterclaim, ¶ 35. However, they do

   not mention any provision in the Policy which provides such duty to defend or any allegation in

   the Underlying Action which would trigger such a duty.

          Solutions Parties further claim that "Underwriters breached its contractual duty to defend

   when it refused to defend the Solutions Parties in the Kipu Underlying Action." Counterclaim, ¶

   37. However, they fail to even plead a contractual duty to defend, and therefore their groundless

   and unsupported contention of a breach of such a contractual duty must fail.




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          In their continued general recitation of the breach of contract elements, Solutions Parties

   allege that "Solutions Parties have been damaged by Underwriters' breach of contract."

   Counterclaim, ¶ 38. Solutions Parties fail to allege any damages.

          Solutions Parties fail to plead any factual support for its contention of breach of contract

   by Underwriters. Solutions Parties' formulaic recitation of the elements of a cause of action will

   not do, and their naked assertions devoid of "further factual enhancement" also will not suffice.

   Twombly, 550 U.S. at 555. Accordingly, Count II of the Counterclaim must be dismissed.

                                           CONCLUSION

          For the foregoing reasons, Plaintiff, Underwriters respectfully request that the this Court

   grant its Motion to Dismiss Defendants, Solutions Parties' counterclaim against Underwriters.

                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 13, 2018, the foregoing Motion to Dismiss was electronically

   filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record on the attached Service List via transmission of Notices of

   Electronic Filing generated by CM/ECF.

                                                                /s/      Steven S. Cula

                                                                      Rory Eric Jurman
                                                                      Steven S. Cula


                                            SERVICE LIST

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